 

Case 2:04-cv-02133-JAG-GDH Document1 Filed 05/06/04

Patrick L. Rocco (PR-8621)
Lee S. Shalov
Ralph M. Stone
Jennifer A. Sullivan (J5-6957)
SHALOV STONE & BONNER LLP
163 Madison Avenuc t
F.O. Box 1277
Morristown, NJ 07962
Tel: (973) 775-8997
Fax: (973) 775-8777
-emd-
485 Seventh Avenue, Suite 1000
New York, NY [0018
Tel: (212) 239-4340
Vax: (212) 239-4310

VIANALE & VIANALE LLP
Kenneth J. Vianale

Julie Prag Vianale

5355 Town Center Road. Suite $01
Boca Raton, FI. 33486

Tel: (561) 391-4900

Fax: (S65) 368-9274

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

JAY WASSERMAN, on behalf of himself and all
others similarly situated,

Plaintiff,
Vv.

GUNTA, INC... RAYMOND I. WARRELL, JR.,
and LORETTA M. ITRI,

Defendants.

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CLASS ACTION COMPLAINT
AND DEMAND FOR JURY TRIAL

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Plaintiff makes the following allegations, except as to allegations specifically pertaining to
him, based upon his counscl’s investigation, which included analysis of publicly-available news
articles and reports, conference calls, public filings, press releases and other matters of public record.

NATURE OF THE ACTION

1. This is a class action on behalf of all purchasers of the common stock of Genta, Inc.
(*Genta” or the “Company”) between September 10, 2003 and May 3, 2004, inclusive, (the “Class
Period’’), seeking to pursue remedies under the Sccurities Exchange Act of 1934 (the “Exchange
Act”).

2. Throughout the Class Period, defendants issued materially false and misleading
statements, artificially inflating the market price of the Company’s shares. Specifically, defendants
misrepresented the safety of the Company’s drug, Genasense, which was being developed to treat
advanced melanoma, the most deadly form of skin cancer.

3. Genta conducted a Phase II drug trial comparing Genasense plus dacarbazine with
dacarbazine alone as the first line chemothcrapy for metastatic melanoma. Throughout the Class
Period, defendants falscly represented to the investing public that Genasense did not appear to be
associated with serious adverse reactions. Defendants knew that contrary to their representations,
however, the use of Genascnsc was associated with increased toxicity and discontinuations due to
adverse event experiences during the trial. Defendants further knew that FDA approval of
Genasense was unlikely because the incrcased toxicity and adverse event experiences outweighed
Genasensco’s marginal benefits. Specifically, defendants knew that:

(a) 69 patients discontinued therapy for adverse events on the Genasense arm versus 39

paticnts who discontinued therapy for adversc cvents on the dacarbazine arm,

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(b} the rate of serious adverse events on the Genasense arm was 40% versus 27% on the
dacarbazine arm;
all toxicities were more frequent on the Genasense arm;
the frequency of grade 3-4 adverse events, serious adverse events and treatment
emergent events leading to discontinuation were all higher on the Genasense arm;
the incidence of thrombocytopenia was 28.8% in the Genasense arm compared with
11.1% in the dacarbazine arm;
pyrexia was three times as frequcnt on the Genasense are, as compared to the
dacarbavine arm;
neutropenia and anorexia were twice as frequent with Genasense;
upper extremity thrombosis occurred in 5% of the patients on Genasense as
compared with 0.8% of the patients on dacarbazine alone;

18.6% of patients who were receiving Genasense permanently discontinued treatment
as compared with 10.8% of those patients taking dacarbazine alone.
JURISDICTION AND VENUE

4, This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.
§§1331, 1337 and 1367 and Scction 27 of the Exchange Act (15 U.S.C. § 78aa).

5. This action arises under Sections 10(b) and 20(a) of the Exchange Act (15 U.S.C.
§ § 78)(b) and 78t(a)) and Rule 10b-5 promulgated thereunder (17 C.F.R. 3 240.10b-3).

6. Venuc is proper inthis District pursuant to Section 27 of the Exchange Act (135 U.5.€.

§ 78aa) and 28 U.S.C. § 1391(b) and (c). Substantial acts in furtherance of the alleged fraud and/or

 

 
 

 

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its effects have occurred within this District. In addition, defendant Genta is headquartered in
Berkeley Weights, New Jersey, within this District.
7, In connection with the acts and omissions alleged in this complaint, defendants,
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directly or indirectly, used the means and instrumentalities of interstate commerce, including, but
not limited to, the mails, the Internet, interstate telephone communications, and the facilities of the
national secunties markcts.
PARTIES
a. Plaintiff purchased Genta common stock during the Class Period, as set forth in the
accompanying certification which is incorporated herein by reference, and was damaged thereby.
9. Defendant Genta is a biopharmaceutical company dedicated to the identification,
development and commercialization of novel drugs for cancer and related discases.
10. The individuai defendants, at all times relevant to this action, served in the capacities

listed below and received substantial compensation:

Name Position
Raymond P. Warrell, Jr, M.D. Chief Exccutive Office and Chairman of the

Board of Directors

Loretta M. Itri, M.D. Chief Medical Officer and President,
Pharmaccutical Development

11. The Individual Defendants, as senior officers and/or directors of Genta, were
controlling persons of the Company. Each exercised their power and influence to cause Genta to
engage in the fraudulent practices complained of herein.

12. Each of the defendants is liable as a participant in a fraudulent scheme and course of

business that operated as a fraud or deccit on purchasers of Genta common stock, by disseminating

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materially false and misleading slaiements and/or concealing material adverse facts. In carrying out
the scheme defendants: (i) deceived the investing public regarding Genta’s business, its finances and
the intrinsic value of Genta common stock; and (ii) caused plaintiff and other members of the Class
to purchase Genta common stock at attificially inflated prices.

PLAINTIFF’S CLASS ACTION ALLEGATIONS

13. Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
Procedure 23(a) and (b)(3) on behalfofa Class, consisting of all persons who purchased or otherwise
acquired Genta common stack between September 10, 2003 and May 3, 2004, inclusive, and who
were damaged thereby. Excluded from the Class are defendants, members of the immediate family
of each of the Individual Defendants, any subsidiary or affiliate of Genta and the directors, officers
and employees of Genta or its subsidiaries or affiliates, or any entity in which any excluded person
has a controlling interest, and the legal representatives, heirs, successors and assigns of any excluded
person.

14. The members of the Class are so numerous that joinder of all members is
impracticable. While the exact number of Class members is unknown to plaintiff at this time and
can only be ascertained through appropriate discovery, plaintiff believes that there arc thousands of
members of the Class located throughout the United States. As of March 11, 2004, there were
reportedly more than 77 million shares of Genta common stock outstanding. Throughout the Class
Period, Genta common stock was actively traded on the NASDAQ Stock Market (an open and
efficient market) under the symbol “GNTA.” Record owners and other members of the Class may

be identified from records maintained by Genta and/or its transfer agents and may be notified of the

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pendency of this action by mail, using a form of notice similar to that customarily used in securities
class actions.

15. Plaintiffs claims are typical of the claims of the othcr members of the Class as all

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members ofthe Class were similarly affected by defendants’ wrongful conduct in violation of fedcral
law that js complained of herein.

16. Plaintiff will fairly and adequately protect the interests of the members of the Class
and has retained counsel competent and experienced in class and securitics litigation.

17. Common questions of law and fact exist as to all members cof the Class and
predominate over any questions solely affecling individual members of the Class. Among the
questions of law and fact common to the Class are:

{a} whether the federal securities laws were violated by defendants’ acts and
omissions as alleged herein;

(b) whether defendants participated in and pursued the common course of
conduct complained of herein;

(c) whether documents, press releases, and other statements disseminated to the
investing public and the Company’s shareholders during the Class Period
misrepresented material facis about the business, finances, financial condition
and prospects of Genta;

(da) whether statements made by defendants to the investing public during the

Class Period misrepresented and/or omitted to disclose material facts about

the business, finaneccs, value, performance and prospects of Genta;

 

 

 
 

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(2} whether the market price of Genta common stock during the Class Period was
artificially inflated duc to the material misrepresentations and failures to
correct the material misrepresentations complained of herein; and
the extent to which the members of the Class have sustained damages and the
proper measure of damages.

18. A class action is superior to all other available methods for the fair and efficient
adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
damages suffered by individual Class members may be relatively small, ihe expense and burden of
individual litigation make it impossible for members of the Class to individually redress the wrongs
donc to them. There will be no difficulty in the management of this suit as a class action,

SUBSTANTIVE ALLEGATIONS

19, The Class Period begins on September 10, 2003. On that date, in a press release
entitled “Genta and Aventis Report Positive Results in Phase 3 Trial of Genasense™ Plus
chemotherapy in Patients with Advanced Malignant Melanoma,” Genta announced the results of the
Phase 3 clinical study of Genascnse™., In that press release Genta stated:

“ Analysis of all paticnts on an intent-to-treat (ITT) basis showed that the addition of
Genasense to dacarbazine resulted in a median survival of 9.1 months, compared
with 7.9 months for patients treated with dacarbazine alone (p=0.184)

For patients treated per -protocol who have complcted a minimum follow-up of 12

months (n=480), the addition of Genasense resulted in a median survival of 10.1

months compared with 8.1 months for dacarbazine alone (p=0.035).

 

 
 

 

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. For the ITT Population (n=771), patients treated with Genasense plus dacarbazine
showed a significant increase in median progression-free survival to 78 days,

compared with 49 days for paticnts treated with dacarbazine alone (P=0.001)

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. For the ITT population (n=771), patients treated with Genasense plus dacarbazine
achieved an antitumor response rate of 11.7% (using RECIST criteria), compared
with 6.8% for patients treated with dacarbazine alone (P—0.019).

* The addition of Genasense to datacarbazine did not appear to be associated with
serious, previously unreported adverse reactions compared with the use of
dacarbazine alone.

20. In the same press relcase, Defendant Itri is quoted as stating: “These results have been
observed in a discasc that is notoriously unresponsive to standard therapy and for which no drug has
shown a survival advantage. We believe the current data support the NDA submission we have
initiated using provision pranted under “Fast Track’ designation for Genasense.” For the reasons set
forth in paragraph 3, these statements were false and misleading.

21, In a conference call conducted on September 10, 2003 to discuss the results of the
Genasense Phase 3 clinical trials, defendant Wardell stated in response to a question regarding
adverse events that “The safety profile is characterized by certain kinds of common reactions. The
most common is a low grade fever. That usually appears in the first and second day and then goes
away, really, without any therapy. No one, to my knowledge, has ever had to drop out of the
program due to fever.” For the reasons set forth in paragraph 3 above, this statement was materially

falsc and misleading.

 
 

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22. On December 8,2003, Genta completed its new drug application to the FDA for
Genasense. On February 6, 2004, Genta announced that the FDA had accepted the new drug
application and that the FDA had granted the application priority review status. At that lime,
defendant Tir stated that “This New Drug Application represents the first clinical indication for a
drug thal promotes chemotherapy induced apoptosis, the first systemic use of an antisense therapy,
and potentially the first new drug for patients with advanced melanoma in almost 30 years.”” For the
reasons set forth in paragraph 3 above, this statement was false and misleading.

23, On February 11, 2004, during a conference call with analysts, defendant Wardell
stated: “We believe the application as submitted is approvable as is. Other than the routine safety
update in April, we have no plans to re-analyve the efficacy [in the submission] during the review
penod unless specifically requested by the agency...Safety data shows a modest increase in the
neutiopenia and fever [which] appears quite acceptable from an oncology point of view.”’ For the
reasons set forth in paragraph 3 above, this statement was false and misleading.

24, On March 12, 2004, Genta filed its Form 10K for the year ended December 30, 2003,
In the 10K Genta stated with respect to the Phase 3 clinical trial results: *“The addition of
Genasense™ to dacarbazine did not appear to be associated with serious, previously unreported
adverse reactions comparcd with the use of dacarbazine alone.” For the reasons set forth in
paragraph 3, this statement was (false and misleading.

25. On April 30, 2004, the staff of the Oncologic Drugs Advisory Committee (ODAC)
ofthe FDA siated in briefing materials in advance of the May 3, 2004 ODAC meeting that the Phase
3 clinical trial of Genasense failed to demonstrate a survival benefit, which was the primary trial

endpoint. However, small but unreliable benefits were seen for progression-free survival (PFS) and

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response rates (RR). The staff also staied: "[u]ncertainty also exists regarding whether an
improvement in PFS and RR of this magnitude outweighs the increase in toxicity seen with the
combination [of Genasense and dacarbazine.) ... Survival was not improved and toxicity was
increased." As a result of this announcement, the price of Genta shares dropped $5.83 or 40.4% to
close at $8.60 on the NASDAQ stock market on exceptionally high volume of over 30 million shares
traded.

26. On May 3, 2004, the ODAC ruled by a 13-3 vote that, in the absence of increased
survival, the evidence presented did not provide substantial evidence of effectiveness to outweigh
the increased toxicity of Genasense. As aresull of this announcement, the price of Genta shares fell
more than $3 per sharc, to close at $5.11 on May 3, 2004, with over 17 million Genta shares traded

that day, another exceptionally high volume day.

APPLICABILITY OF PRESUMPTION OF RELIANCE:
FRAUD-ON-THE-MARKET DOCTRINE

27. At all relevant times, the market for Genta common stock was an efficient market for
the following reasons, among others:
(ay Genta common stock met the requirements for listing, and was listed and actively
traded, on the NASDAQ Stock Market, an efficient secunlies market,
(b) As a rceulated issuer, Genta filed periodic public reports with the SEC;
(c} Genta stock was followed by securities analysts employed by major brokerage firms
who wrote reports which were distributed to sales forces and certain customers of

their respective brokerage firms.

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(d) Genta regularly issued press releases which were carried by national newswires.
Each of these releases was publicly available and entered the public marketplace.

28, As aresult, the market for Genta securitics promptly digested current information
with respect to Genta from all publicly-available sources and reflected such information in Genta’s
stock price. Under these circumstances, all purchasers of Genta common stock during the Class
Period suffered similar injury through their purchase of stock at artificially inflated prices and a
presumption of reliance applics.

NO SAFE HARBOR

29. The statutory safe harbor provided for forward-looking statements under certain
circumstances does not apply to any of the allegedly false statements pleaded in this complaint. The
specific statements pleaded herein were not identified as “forward-looking statements” when made.
Nor was it stated with respect to any of the statements forming the basis of this complaint that actual
results “could differ materially from those projected.” To the extent there were any forward-looking
statements, there were no meaningful cautionary statements identifying important factors that could
cause actual results to differ materially from those in the purportedly forward-looking statements.
Altematively, to the extent that the statutory safe harbor docs apply to any forward-looking
statements pleaded herein, defendants are liable for those false forward-locking statements because
at the lime each of those forward-looking was made the particular speaker knew that the particular
forward-looking statement was false, and/or the forward-looking statement was authorized and/or

approved by an executive officer of Genta who knew that those statements were false when made.

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SCTENTER ALLEGATIONS
30, As alleged herein, defendants acted with scicnter in that defendants knew that the

public documents and statements, issued or disseminated by or in the name of the Company were

maternally false and misleading; knew or recklessly disregarded that such statements or documents

would be issued or disseminated to the investing public; and knowingly and substantially
participated or acquiesced in the issuance or dissemination of such statements or documents as
primary violators of the federal securities laws. As set forth elsewhere herein in detail, defendants,
by virlue of their reccipt of information reflecting the true facts regarding Genta and its business
practices, their control over and/or receipt of Genta’s allegedly materially misleading misstatements
and/or their associations with the Company which made them privy to confidential proprietary
information concerning Genta were active and culpable participants in the fraudulent scheme alleged
herein. Defendants knew and/or recklessly disregarded the falsity and misleading nature of the
information which they caused to be disscminated to the investing public.

31, The Individual Defendants participated in creating, editing, and reviewing the
quarterly safety reports to the FDA detailing adverse events experienced by patients in the trials.
They are sophisticated medical professionals who understood the implications of reports they
received about the medical studies conducted. As a result, the defendants knew or recklessly
disreparded the fact that their representations about the safety of Genasensc were materially

misleading

 

 

 
 

 

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COUNT I
Violations Of Section 10(b) Of The

Exchange Act And Rule 10b-5 Promulgated
Thereunder Against All Defendants

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32. Plaintiff repeats and realleges each and every allegation contained above.

33. Each of the defendants: (a) knew or recklessly disregarded material adverse non-
public information about Genta’s financial results and then existing business conditions, which was
not disclosed; and (b) participated in drafting, reviewing and/or approving the misleading statements,
releases, reports and other public representations of and about Genta.

34, During the Class Period, defendants, with knowledge of or reckless disregard for the
truth, disseminated or approved the false statements specified above, which were misleading in that
they contained misrcpresentations and failed to disclose material facts necessary in order to make
the statements made, in light of the circumstances under which they were made, not misleading.

35. Defendants have violated §10(b) of the Exchange Act and Rule 10b-5 promulgated
thercunder in that they: (a) employed devices, schemes and artifices to defraud; (b) made untrue
statements of material facts or omitted to statc material facts necessary in order to make statements
made, in light of the circumstances under which they were made, not misleading; or (c) engaged in
acts, practices and a course of business that opcrated as a fraud or deceit upon the purchasers of
Genta stock during the Class Period.

36. Plaintiff and the Class have suffered damage in that, in reliance on the integrity of the
market, they paid artificially inflated priccs for Genta stock. Plaintiffand the Class would not have
purchased Genta stock at the prices they paid, or at all, if they had been aware that the market prices

had been artificially and falsely inflated by dcfendants’ false and misleading statements.

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COUNT TI

Violation Of Section 20(a) Of The Exchange Act
Against Individual Defendants

37. Plaintiff repeats and rcallcges each and every allegation contained above.

38. The Individual Defendants acted as controlling persons of Genta within the meaning
of Section 20(a) of the Exchange Act. By reason of their senior cxccutive and/or Board positions
they had the power and authority to cause Genta to engage in the wrongful conduct complained of
herein.

39. By reason of such wrongful conduct, Genta and the Individual Defendants are liable
Pursuant to §20(a) of the Exchange Act. As a direct and proximate result of these defendants’
wrongful conduct, plaintiff and the other members of the Class suffered damages in connection with
their purchases of Genta stock during the Class Period.

WHEREFORE, plaintiff prays for relief and judgement, as follows:

1. Determining that this action is a proper class action and certifying plaintiff as class
represenlative under Rule 23 of the Federal Rules of Civil Procedure;

2. Awarding compensatory damages in favor of plaintiff and the other Class members
against all defendants, jointly and severally, for all damages sustained as a result of defendants’
wrongdoing, in an amount to be proven at trial, including imterest thereon;

3. Awarding plaintiff and the Class their reasonable costs and expenses incurred in this
action, including counsel fees and expert fees; and

4, Such other and further relief as the Court may deem just and proper.

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JURY TRIAL DEMANDED

 

Plaintiff hereby demands a trial by jury.
DATED: May 6, 2004
SHALOV STONE & BONNER LLP

wy. totuele L. Cooo [rms

Patrick L. Rocco (PR-8621)
Jennifer A. Sullivan (JS-6957)

 

163 Madison Avenue
P.O. Box 1277
Morristown, NJ 07962
Tel: (973) 775-8997
lfax: (973) 775-8777

-and-

Lee 8. Shalov

Ralph M. Stone

485 Seventh Avenue, Suite 1000
New York, NY LOOLS

Tel: (212) 239-4340

Fax: (212) 239-4310

VIANALE & VIANALE LLP
Kenneth J. Vianale

Julie Prag Vianale

5355 Town Center Road. Suite 801
Boca Raton, FI. 33486

Tel: (5615 391-4900

Fax: (561) 368-9274

 

Attorneys for Plaintiff

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Vianale & Vianale LLP

$355 Teron Center Road, Sure 865
Bom: Rata, FL 33486

Tel: 561-391 4900 ¢ Fax: 561-368-9274

CERTIFICATION OF FLLAINTIFE

). I have reviewed the ognipiaint and suthosized irs Sing l retain the law firs of Vienale &
Vianale LLP amd such op-counsel it deems apprepolate to associate with to pursue such action on 2
contingent fee basis.

2. I did not purchase tbe. security that is the subject of this action at the direction of counsel or
in order to participate In this private action or any ofber tigation under the federal securities laws.

3. 1 am willing  socvs.s3 «representative party on behalf of the class, including providing
Teetimony at deposition and trial, if necessary.

4, Lhsve mars no traneaotion(s) during the Class Period in the debtor equity securities thar are
the subject of this action except those eet forth below: (nae a separate sheet ifnecescary)

Date “Transaction # of Shares Price
Type
See attachmant “A”

5. During the three yuare prior 1 the date of this Certificets, [have sought to serve or served
a8 2 yepresenfative party for a class in the following aotioty fled under the federel decurities Laws:

N/A

6, I will net accept ay payment for serving as a repreventaiive party on behalf of the class
beyond 3 pro rata share of sn} necevery, except such reasgnable cusis and expanses (including lost Wages)
directly relating to the represantaron ofthe class as ordered or approved try the court.

ff 1 dectare under penalty df perjury that the Soregoing is sue sad oorzect. Executed this! day of
é O04.

 

 

 

 
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Date . No. Of Shares
Jay Wasserman Account
1146¥01 Buy 900
12/5/01 Buy 300
S/B/O3 Buy 2,000
$/1$/03 Buy ~ | 200
5/15/03 Buy 800
6/17/03 $00
G/L 7/03
6/17/03
6/17/03
1/21/04
1/21/04
1421/04 Buy

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Jay Wasserman and Deborai Wasserman Joint
11/7/03 Buy $9.70

11/28/03 Buy $10.10
1/22/04. Bry — $12.46
1/23/04 Buy $13.17
2/6/04 Buy $13.73
19/04 Buy 511.70

 

 

 

 

 

 

 

 

 

Jay Wasserman IRA Account
12/2/03 :
12/2/03 Buy

 

 

 

 

 

 

 

 

 

 

 
